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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

VICTORIA RIVERA,
                                                            Case No.
                      Plaintiff,

-vs-                                                        JURY TRIAL DEMANDED

REGIONAL ADJUSTMENT BUREAU, INC.

                  Defendant.
_______________________________/

               COMPLAINT FOR UNLAWFUL DEBT COLLECTION PRACTICES
                          AND DEMAND FOR JURY TRIAL

                                   PRELIMINARY STATEMENT

   1. This is an action for damages under Federa1 Statutes §15 U.S.C. 1602 et seq., Fair Debt
       Collection Practices Act (herein after “FDCPA”) and Florida Statutes §§559.55 et seq.,
       otherwise known as a the Florida Consumer Collection Practices Act (hereinafter “FCCPA”)
       and under Federal Statute 47 U.S.C. § 227, the Telephone Consumer Protection Act
       (hereinafter the “TCPA”).
                                       Jurisdiction and Venue
   2. Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C. §1331, 1337.
   3. Venue lies in this District pursuant to 28 U.S.C. §1391(d).
                                                Parties
   4. Plaintiff, Victoria Rivera, (hereafter “Plaintiff) is an individual residing at 11403 Camden Yard
       Lane, Lithia FL 33547.
   5. Defendant, Regional Adjustment Bureau, Inc. (hereafter “RAB”) is a for-profit Tennessee
       corporation, with its principle place of business located at 1900 Charles Bryan Rd, Ste. 110,
       Cordova, TN 38016. The principle purpose of Defendant is the collection of debts, using the
       mail and telephone, and Defendant regularly attempts to collect debts alleged to be due to
       another.
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 6. Upon information and belief, at all times mentioned herein, the agents and employees of
    Defendant acted within the course and scope of such agency or employment, and acted with
    the consent, permission and authorization of Defendant.
                                        Factual Allegations
 7. Plaintiff owes a debt to College Loan Corporation for a student loan.
 8. The Student loan was primarily incurred for personal, family our household purposes and is a
    debt as defined by 15 U.S.C. 1692a(5) and F.S. 559.55(1).
 9. At some point Plaintiff became delinquent in her payments to College Loan Corporation.
 10. College Loan Corporation assigned the debt to Defendant for collection.
 11. Defendant, by and through its agents, called Plaintiff so many times that Plaintiff felt harassed by
    the calls.
 12. The calls were placed to Plaintiff’s cell phone via an automatic telephone dialing system.
 13. Despite the fact that the student loan was a private loan, not a government loan, Defendant told
    Plaintiff that if she did not pay the account, they would garnish her wages.
 14. Feeling frustrated and harassed by the phone calls, she changed her cell phone number.
 15. Within a few months of changing her phone number, Defendant started calling her new cell
    phone number (813-xxx-8543) using an automatic telephone dialing system.
 16. Plaintiff never gave express permission to Defendant to call her on her cell phone using an
    automatic telephone dialing system.
                                       First Claim for Relief
                                         FDCPA Violation

 17. Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through 16.
 18. The foregoing acts and omissions of Defendant RAB and its agents constitute numerous and
    several violations of the FDCPA, including, but not limited to 15 U.S.C. §§1692d, 1692d(5) and
    1692e(2)(A).
 19. As a result if the above violations of the FDCPA, Defendant RAB is liable to Plaintiff for
    Plaintiff’s actual damages, statutory damages, costs and attorney’s fees.
                                      Second Claim for Relief
                                         FCCPA Violation

 20. Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through 16.
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   21. The foregoing acts and omissions of Defendant RAB and its agents constitute numerous and
       several violations of the FCCPA, including, but not limited to F.S.A. §§559.72(7) and 559.72(9).
   22. The actions of Defendant were done with the intent to coerce Plaintiff into paying a consumer
       debt.
   23. As a result of the above violations of the FCCPA, Defendant RAB is liable to Plaintiff for actual
       damages, statutory damages, punitive damages and attorney’s fees and costs.
                                        Third Claim for Relief
                                          TCPA Violation

   24. Plaintiff repeats, realleges, and incorporates by reference paragraphs 1 through 16.
   25. Defendant used an automatic telephone dialing system to call Plaintiff’s cell phone numerous

       times.

   26. Defendant placed said phone calls either without Plaintiff’s express consent or after the express

       consent was revoked.

   27. Although the exact number of calls is not known, it is alleged that there were at least 30 calls

       made by Defendant to Plaintiff in violation of the TCPA.

   28. Defendant’s violation of the TCPA was knowing and intentional.

   29. As a result of the above violations of the TCPA, Defendant is liable to Plaintiff for actual

       damages, statutory damages of $1,500 per violation and reasonable attorney fees and costs.

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for

the following:


                 a. Actual damages pursuant to 15 U.S.C §1692 and F.S.A. 559.77(2) and 47 USC §

                    227(b)(3).

                 b. Statutory damages pursuant to 15 U.S.C §1692 and F.S.A. 559.77(2) and 47 USC §

                    227(b)(3).
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           c. Costs and reasonable attorney fees pursuant to15 U.S.C §1692 and F.S.A.

               559.77(2);

           d. Punitive damages pursuant to 11 U.S.C. §105 and 15 U.S.C §1692 and F.S.A.

               559.77;

           e. For any such relief the Court deems just and proper.


    Respectfully submitted, this 9th day of October, 2014.

                                          /s/ G. Donald Golden
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                                DEMAND FOR JURY TRIAL

           PLEASE TAKE NOTICE that Plaintiff demands trial by jury in this action.



                                      /s/ G. Donald Golden
                                      G. Donald Golden, Esquire
